        Case 1:20-cv-11889-MLW Document 125 Filed 05/27/21 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
 DR. SHIVA AYYADURAI,                             )
 Plaintiff,                                       )
                                                  )
 v.                                               )
                                                  )
 WILLIANS FRANCIS GALVIN, MICHELLE                )     Civ. No. 20-cv-11889
 K. TASSINARI, DEBRA O’MALLEY, AMY                )
 COHEN, NATIONAL ASSOCIATION OF                   )
 STATE ELECTION DIRECTORS, allegedly              )
 in their individual capacities, and WILLIAM      )
 FRANCIS GALVIN, in his official capacity as      )
 Secretary of State for Massachusetts.            )
 Defendants.                                      )
                                                  )

  THE NATIONAL ASSOCIATION OF STATE ELECTION DIRECTORS AND AMY
              COHEN’S RESPONSE TO MAY 21, 2021 ORDER

       In accordance with the Court’s May 21, 2021 Order (Dkt No. 122), Defendants the National

Association of State Election Directors and Amy Cohen state that they do not believe that

disqualification is required pursuant to 28 U.S.C. § 455(a) or (b) based on the Court’s association

with Felicia Ellsworth as stated at the May 20, 2021 hearing, and in any event waive any such

grounds for disqualification pursuant to 28 U.S.C. § 455(e).

Dated: May 27, 2021                             Respectfully submitted,

                                                For the National Association of State Election
                                                Directors and Amy Cohen

                                                /s/ Nolan J. Mitchell
                                                Nolan J. Mitchell (BBO #668145)
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        Case 1:20-cv-11889-MLW Document 125 Filed 05/27/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 27th day of May, 2021, a true and correct copy
of this document was served on plaintiff and all registered counsel of record via the Court’s ECF
system.
                                                              /s/ Nolan J. Mitchell
                                                              Nolan J. Mitchell




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